      Case: 1:22-cv-00919 Document #: 17 Filed: 07/28/22 Page 1 of 3 PageID #:49




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JAMES ETIENNE,                                )
                                              )       22 C 919
                              Plaintiff,      )
                                              )       Judge Gary Feinerman
v.                                            )
                                              )       Magistrate Judge Susan E. Cox
CITY OF CHICAGO and                           )
CHICAGO POLICE OFFICER                        )
R. RODRIQUEZ (#12157),                        )
CHICAGO POLICE OFFICER                        )
LUKASZ MURZANSKI (#9407)                      )
                                              )
                              Defendants.     )

                                   JOINT STATUS REPORT
       The parties, by and through their undersigned counsel, submit the following Joint Status
Report in accordance with this Court’s Order of May 2, 2022 [Dkt. 15]:
     1. Discovery completed
        The parties have exchanged Initial Disclosures and written discovery requests. Plaintiff
has responded to Defendants’ written discovery, and Defendants’ responses to Plaintiff’s written
discovery requests are due July 29, 2022. Plaintiff has issued a subpoena for relevant medical
records responsive to Defendants’ written requests and will produce the return upon receipt as
appropriate to Defendants’ counsel.
     2. Discovery that remains to be taken

        The parties have scheduled or are in the process of scheduling party depositions.
Plaintiff’s deposition was scheduled for July 28, 2022, but needed to be rescheduled due to
schedules of counsel, and will now likely take place in early September. The parties are working
to find agreeable dates for the depositions of the individual Defendants. The need for additional
depositions at this point remains unclear.
     3. Foreseeable obstacles
       At this time, the parties are working diligently to meet the Court’s deadlines in this case.
The parties do not foresee obstacles to meeting the Court’s deadlines set forth in the scheduling
order.
     Case: 1:22-cv-00919 Document #: 17 Filed: 07/28/22 Page 2 of 3 PageID #:50




   4. Settlement conference

        A settlement conference at this point would be premature, but upon completion of further
discovery, the parties will promptly advise the Court if they desire the Magistrate Judge’s
assistance with potential settlement.

   5. Need for August 4, 2022 Status Hearing

       The parties do not believe a status hearing on August 4, 2022 is necessary.


Dated: July 28, 2022


                       Respectfully Submitted,
                                            /s/ Daniel E. Massoglia
                                           One of Plaintiff’s Attorneys
Daniel Massoglia
Nadia Woods
First Defense Legal Aid
601 S. California Ave.
Chicago, IL 60612
P: 708-797-3066
E: daniel@first-defense.org
E: nadia@first-defense.org


                                            BY:      /s/ Danielle Clayton

                                            One of Defendants’ Attorneys


Jessica Griff, Assistant Corporation Counsel Supervisor
Danielle Clayton, Assistant Corporation Counsel
City of Chicago, Department of Law
2 North LaSalle Street, Suite 420
Chicago, Illinois 60602
312-744-2826 (phone)
Jessica.griff@cityofchicago.org
Danielle.clayton@cityofchicago.org




                                                 2
     Case: 1:22-cv-00919 Document #: 17 Filed: 07/28/22 Page 3 of 3 PageID #:51




                                   CERTIFICATE OF SERVICE
        I, Daniel Massoglia, an attorney, hereby certify that a copy of this document was filed
before 11:59pm on July 28, 2022 using the Court’s CM/ECF filing system, which generates
electronic notice to all parties of record in the case.

                              Respectfully submitted,
                                                             Daniel Massoglia
                                                        One of Plaintiff’s Attorneys




 Daniel Massoglia (#6317393)
 First Defense Legal Aid
 601 S. California Ave.
 Chicago, IL 60612
 P: 708-797-3066
 E: daniel@first-defense.org




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